 

Case 1:11-cv-00237-RHB ECF No. 24-1 filed 01/03/12 Page|D.336 Page 1 of 1

Exhibit 1
EXhibit 2
Exhibit 3
Exhibit 4
Exhibit 5
EXhibit 6
Exhibit 7

Exhibit 8

Exhibit 9

Exhibit 10
Exhibit 11
Exhibit 12
Exhibit 13

Exhibit 14

lNDEX oF EleBlTs

Mayor Gary Ne|und Deposition

Timothy LaVigne Deposition

Ce||u|ar Te|ephone Po|icy

Nor“con Shores Po|ice Department Officia| Complaint
Emai| Exchange With Personne| Board

Norton Shores Po|ice Department Discip|inary Procedures
Determination Hearing Agenda

Chief of Po|ice Shaw’s Memo to LaVigne re Notice of Disposition
of (10-26-10)

Carrie Larks’ Letter 10-28-10

LaVigne’s Appea| of Discharge

Personne| Committee Summary and Recommendation 12-29-10
Carrie Larks’ Letter of 1-24-11 to Timothy LaVigne

City Charter

Code of Ordinances

